






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00160-CV






Rhett Webster Pease, Appellant


v.



Texas Attorney General and Janell Pease, Appellees





FROM THE DISTRICT COURT OF LEE COUNTY, 21ST JUDICIAL DISTRICT


NO. 12,380, HONORABLE JOHN M. DELANEY, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant Rhett Webster Pease filed his notice of appeal on March 14, 2008.  The
clerk's record was filed on June 26, 2008, three supplemental clerk's records were filed on August
20, 2008, August 25, 2008, and December 22, 2008, and the reporter's record was filed on December
30, 2008.  On February 23, 2009, the clerk of this Court sent appellant notice that&nbsp;his brief was
overdue and that his appeal would be dismissed for want of prosecution if he&nbsp;did&nbsp;not&nbsp;respond to this
Court on or before March 5, 2009.  To date, appellant has not responded to&nbsp;this&nbsp;Court's notice. 
Accordingly, we dismiss the appeal for want of prosecution.  Tex.&nbsp;R.&nbsp;App.&nbsp;P.&nbsp;42.3(b), (c).

					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   June 26, 2009


